  8:05-cr-00307-JFB-FG3           Doc # 48   Filed: 02/09/06   Page 1 of 1 - Page ID # 76




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )            Case No. 8:05CR307
                                             )
                     Plaintiff,              )
                                             )
      v.                                     )                   ORDER
                                             )
JOSE CANTABRANA,                             )
                                             )
                     Defendant.              )


      IT IS ORDERED that a change of plea for the defendant is scheduled before the

undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South

18th Plaza, Omaha, Nebraska, on February 22, 2006, at 3:00 p.m. Since this is a criminal

case, the defendant shall be present, unless excused by the court. If an interpreter is

required, one must be requested by the plaintiff in writing five (5) days in advance of the

scheduled hearing.

      DATED this 9th day of February, 2006.

                                             BY THE COURT:




                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
